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                            UNITED STATES DISTRICT COURT
                           EASTEREN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL                                        CIVIL ACTION NO. 12-859

VERSUS                                                      SECTION I, DIVISION 1

MARLIN GUSMAN, ET AL,                                       JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH
                                      STATUS REPORT

       The City of New Orleans (the “City), hereby submits a Status Report on the progress of

the Temporary Detention Center (“TDC”) renovation and Phase III facility, in response to the

Court’s Order of March 18, 2019 (R.Doc. 1227).

       The Appropriate Units have been installed at TDC. Contractors remain on site, as ongoing

work continues. The projected construction completion date for TDC remains at 8 months from

issuance of the notice to proceed.

       Grace/Hebert Architects (“GHA”) is in the final stages of Design Development (“DD”)

for the Phase III project of the Orleans Justice Center. GHA is due to complete the DD phase of

the project in January 2020. The projected completion date for Phase III is June 2022.

                                                    Respectfully submitted

                                                     /s/ Sunni J. LeBeouf________________
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